 Case: 1:22-cv-00284-MRB Doc #: 99 Filed: 10/05/22 Page: 1 of 13 PAGEID #: 385




                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

THE UNITED STATES OF AMERICA, and

THE STATES OF CALIFORNIA, COLORADO,
CONNECTICUT, DELAWARE, FLORIDA, GEORGIA,
HAWAII, ILLINOIS, INDIANA, IOWA, LOUISIANA,
MARYLAND, MASSACHUSETTS, MICHIGAN,                      Case No. 1:22-cv-284
MINNESOTA, MONTANA, NEVADA, NEW
HAMPSHIRE, NEW JERSEY, NEW MEXICO, NEW                  Judge Michael R. Barrett
YORK, NORTH CAROLINA, OKLAHOMA, RHODE
ISLAND, TENNESSEE, TEXAS, VERMONT,
VIRGINIA, and WASHINGTON; THE DISTRICT OF
COLUMBIA; THE COUNTY OF ALLEGHENY; and THE
CITIES OF CHICAGO, NEW YORK, and
PHILADELPHIA,

ex rel. JOEL STEVENS,

            Plaintiffs,

            -v-

ATRICURE, INC., ST. HELENA HOSPITAL, and
ADVENTIST HEALTH,

            Defendants.




         RELATOR’S MEMORANDUM OF LAW IN OPPOSITION TO
DEFENDANT ST. HELENA’S AND DEFENDANT ADVENTIST HEALTH’S MOTION
TO DISMISS THE FOURTH AMENDED COMPLAINT PURSUANT TO FED.R.CIV.P.
                      12(b)(1), 12(b)(6), AND 9(b)




                                       1
     Case: 1:22-cv-00284-MRB Doc #: 99 Filed: 10/05/22 Page: 2 of 13 PAGEID #: 386




                                                       TABLE OF CONTENTS

I.      INTRODUCTION .................................................................................................................... 3

II. ARGUMENT ............................................................................................................................ 3

     A. Legal Standards ............................................................................................................................ 3

     B. The Complaint States a Claim for Relief Under the FCA .................................................. 4

     C. The Complaint Satisfies Rule 9(b)’s Particularity Requirement ...................................... 4

     D. Relator Sufficiently Alleges Defendants’ Conspiracy to Violate the FCA ...................... 4

        1.     Legal Standard for Conspiracy..................................................................................... 5

        2. Dr. Dunnington, Adventist Health’s and St. Helena’s Director of Cardio-Thoracic
        Surgery ................................................................................................................................... 5

        3.     Defendants St. Helena and Adventist Health Also Profited From The Scheme....... 8

     E. The Complaint Sufficiently Pleads that Defendants’ Kickback Scheme Resulted in
     the Submission of False Claims to State Medicaid Programs.................................................... 9

III. CONCLUSION ....................................................................................................................... 11




                                                                          2
  Case: 1:22-cv-00284-MRB Doc #: 99 Filed: 10/05/22 Page: 3 of 13 PAGEID #: 387




       Relator Joel Stevens (“Relator”) files this Memorandum of Law in Opposition to

Defendant St. Helena’s and Defendant Adventist Health’s Motion to Dismiss Relator’s Fourth

Amended Complaint, ECF No. 92, filed on August 17, 2022. For the reasons set forth below,

Defendants’ motions to dismiss should be denied in their entireties.

       I.      INTRODUCTION

       The Fourth Amended Complaint properly sets forth causes of action as to all federal

reimbursement claims tainted by the Defendants’ unlawful kickback scheme. Relator alleges

that Defendant AtriCure, Inc. (“AtriCure”) engaged in an unlawful promotional scheme in

concert with Defendants Adventist Health (“Adventist” or “Adventist Health”) and St. Helena

Hospital (“St. Helena”) (Adventist and St. Helena are referred to herein as the “Hospital

Defendants”) involving the offer and payment of illegal remuneration to healthcare providers and

institutions to induce purchases of AtriCure’s medical devices, in violation of the federal Anti-

Kickback Statute (the “AKS”) and the False Claims Act. Fourth Amended Complaint (ECF No.

88; “Complaint” or “Compl.”) ¶ 2.

       Relator pleads more than enough information to provide the Hospital Defendants with

notice regarding these schemes and to state cognizable claims against each of the Defendants

under the applicable legal standards in the Sixth Circuit.

       II.     ARGUMENT

              A. Legal Standards
       The relevant legal standards are set forth in Relator’s Memorandum of Law in Opposition

to Defendant AtriCure’s Motion to Dismiss Relator’s Fourth Amended Complaint, filed

contemporaneously herewith and incorporated by reference as if set forth in its entirety herein.

Relator believes that repeating that discussion here would be duplicative and unnecessarily

require judicial resources in reviewing the discussion a second time.

                                                 3
  Case: 1:22-cv-00284-MRB Doc #: 99 Filed: 10/05/22 Page: 4 of 13 PAGEID #: 388




               B. Relator’s Complaint States a Claim for Relief Under the FCA
        As with the discussion of the relevant legal standards, Relator's Complaint adequately

sets forth a claim for relief under the False Claims Act, 31 U.S.C. § 3729 et seq. (“FCA”), for the

reasons set forth in Relator’s Memorandum of Law in Opposition to Defendant AtriCure’s

Motion to Dismiss Relator’s Fourth Amended Complaint, filed contemporaneously herewith and

incorporated by reference as if set forth in its entirety herein.

                C. The Complaint Satisfies Rule 9(b)’s Particularity Requirement

        As discussed in greater detail in the Conspiracy discussion, infra, a claim against a group

of conspirators need show that Defendants jointly caused presentment of only one claim, rather

than that each Defendant separately caused the submission of separate claims. Accordingly, for

the reasons set forth in Relator’s Memorandum of Law in Opposition to Defendant AtriCure’s

Motion to Dismiss Relator’s Fourth Amended Complaint, filed contemporaneously herewith and

incorporated by reference as if set forth in its entirety herein, Relator has pled sufficient detail for

claims to stand against Defendants St. Helena and Adventist Health, as well as Defendant

AtriCure.

                D. Relator Sufficiently Alleges Defendants’ Conspiracy to Violate the FCA

        The Complaint alleges that all Defendants violated the federal False Claims Act by virtue

of being members of the same conspiracy to submit, or cause to be submitted, false claims in

violation of 31 U.S.C. § 3729(a)(1)(C). Hence, Relator will not seek to advance claims against

St. Helena or Adventist under 31 U.S.C. § 3729(a)(1)(A) or (a)(1)(B). However, Relator has

sufficiently pled claims against St. Helena and Adventist as participants in a conspiracy to

commit violations of the False Claims Act in violation of 31 U.S.C. § 3729(a)(1)(C). Here, the

“Hospital Defendants” as defined by those defendants in their brief (i.e., St. Helena and its parent

Adventist Health System/West), knowingly joined, conspired and participated with AtriCure to

                                                   4
  Case: 1:22-cv-00284-MRB Doc #: 99 Filed: 10/05/22 Page: 5 of 13 PAGEID #: 389




transfer things of value to physicians and EP’s for the purpose of inducing or rewarding referral

of business reimbursable by federal healthcare programs.

                         1. Legal Standard for Conspiracy

       To adequately allege conspiracy, a relator must establish that “(1) that the defendant

conspired with at least one person to get a false or fraudulent claim paid by the Government; and

(2) that at least one of the conspirators performed an overt act to get a false or fraudulent claim

paid.” United States ex rel. Chase v. LifePath Hospice, Inc., No. 8:10-cv-1061-T-30TGW, 2016

U.S. Dist. LEXIS 129405, at *28, 2016 WL 5239863, at *8 (M.D. Fla. Sept. 22, 2016) (citing

United States ex rel. Bane v. Breathe Easy Pulmonary Servs., Inc., 597 F. Supp. 2d 1280, 1289

(M.D. Fla. 2009)). “‘Conspire’ in this context requires a meeting of the minds ‘to defraud the

Government.’” Chase, 2016 U.S. Dist. LEXIS 129405, at *24 (citing Allison Engine Co., Inc. v.

United States ex rel. Sanders, 553 U.S. 662, 672 (2008)). Here, this means that Defendants must

have intended to either submit, or cause the submission of, claims tainted by fraud or kickbacks.

                         2. Dr. Dunnington, Adventist Health’s and St. Helena’s Director of
                            Cardio-Thoracic Surgery

       A key decisionmaker at Defendant St. Helena with regard to the Hospital Defendants’

conspiracy with AtriCure is Dr. Gansevoort (“Gan”) Dunnington. Dr. Dunnington’s LinkedIn

page states that he is “Director of cardiothoracic surgery at Adventist Health” at St. Helena

(https://www.linkedin.com/in/gan-dunnington-8421a054, last visited October 4, 2022), and his

biography page on AdventistHealth.org states, in part, as follows: “Dr. Gan Dunnington is a

board-certified cardiothoracic surgeon, specializing in minimally invasive complex cardiac

procedures such as the Hybrid Maze for treatment of atrial fibrillation, mitral valve repair and

replacement, transcatheter aortic valve replacement as well as VATS lobectomy for the treatment




                                                  5
  Case: 1:22-cv-00284-MRB Doc #: 99 Filed: 10/05/22 Page: 6 of 13 PAGEID #: 390




of lung cancer.” https://doctors.adventisthealth.org/provider/Gansevoort+H+Dunnington-

%2C+Jr./1342307. (last visited October 4, 2022).

       Dr. Dunnington acted as a bridge between the co-conspirators, getting paid by AtriCure

in return for St. Helena’s and Adventist Health’s role in the scheme. For example, in a recent

medical journal paper entitled Mid‐term outcomes of concomitant Cox‐Maze IV: Results from a

multicenter prospective registry, published in the Journal of Cardiac Surgery and sponsored by

AtriCure, Dr. Dunnington is referenced as having a “Conflict of Interest” in connection with this

study, described as follows: “G. D.: consultant, speaker, and proctor for AtriCure, Inc.”

https://onlinelibrary.wiley.com/doi/epdf/10.1111/jocs.16777 (last visited October 4, 2022).

       Likewise, in 2016, Dr. Dunnington appeared on an “infomercial” for AtriCure alongside

AtriCure’s President, Michael Carrel, and was interviewed by former supermodel Kathy Ireland.

The description for this video indicates that it was published on September 26, 2016, and the

description notation reads: “AtriCure President and CEO, Michael Carrel and Gan H.

Dunnington, MD from St. Helena Arrhythmia Center on the sponsored segment on Worldwide

Business with Kathy Ireland.” https://www.youtube.com/watch?v=llNC2FqY2XQ. At 3:38 and

5:02, this video includes an interior shot of St. Helena Hospital. Repeatedly in this infomercial,

Dr. Dunnington’s title appears in the video ribbon on screen as: Gan H. Dunnington, MD,

Medical Director St. Helena Arrythmia Center. Also scrolling at the bottom of this video is a

message reading: “For more information on St. Helena visit: www.AdventistHeart.org/-

Arrythmia.”    At 10:23, there is a shot of a St. Helena sign outside of the facility, and at 12:10,

Dr. Dunnington says he is “very happy to be partnering up with AtriCure.…”




                                                  6
  Case: 1:22-cv-00284-MRB Doc #: 99 Filed: 10/05/22 Page: 7 of 13 PAGEID #: 391




       The co-operation among all three conspirators – including the parallel use of a vineyard

location (in this case, Wente Vineyards) to induce people to attend – is plainly visible in the

promotion which follows, featuring Dr. Dunnington as the link among them:




https://issuu.com/pleasantonweekly/docs/2017_03_03.pls.section1 at 2 (last visited October 4,

2022). This is an example of the so-called “Patient Education Grants” that Relator alleges

Defendant AtriCure paid to its co-conspirators. Compl. ¶ 149



                                                 7
  Case: 1:22-cv-00284-MRB Doc #: 99 Filed: 10/05/22 Page: 8 of 13 PAGEID #: 392




                         3. Defendants St. Helena and Adventist Health Also Profited From
                            The Scheme

       Further, the Complaint alleges a number of AtriCure’s inducements were provided

directly to Defendant Adventist:

       Defendants St. Helena and Adventist solicited from Defendant AtriCure,
       and in turn Defendant AtriCure agreed to pay (and did pay), Defendant
       St. Helena and Defendant Adventist illegal remuneration in exchange for
       inducing sales of its products to Medicare and other government payers
       under the guise of cash “grants” ostensibly relating to patient education
       and professional training.

Compl. ¶ 149. “In the case of Defendant St. Helena, AtriCure additionally paid St. Helena cash

remuneration in return for hosting surgical teams to perform. . . . procedures onsite.” Id. ¶ 5.

“AtriCure paid St. Helena Hospital to hold these events in 2013. Specifically, Relator was

informed that ‘you would be surprised how much we are paying St. Helena to do this. They are

not doing this for free.’” Id. ¶ 102. Indeed,

       Defendant St. Helena . . . routinely served as access point[] for these efforts. In one
       representative example, in September, 2015, when Mr. Richards was advised that St.
       Mark’s surgeon Vijay Jayankar had been introduced to Dr. Eifling at a St. Helena
       training event, Mr. Richards advised Relator that “this may be what we need to get the
       program rolling” at “St. Mark’s/MountainStar.”

Compl. ¶ 148 (emphasis supplied).

       Further, the Complaint alleges a number of AtriCure’s inducements were provided

directly to Defendants Adventist and St. Helena:

       Defendants St. Helena and Adventist solicited from Defendant AtriCure,
       and in turn Defendant AtriCure agreed to pay (and did pay), Defendant
       St. Helena and Defendant Adventist illegal remuneration in exchange for
       inducing sales of its products to Medicare and other government payers
       under the guise of cash “grants” ostensibly relating to patient education
       and professional training.

Compl. ¶ 149.




                                                 8
  Case: 1:22-cv-00284-MRB Doc #: 99 Filed: 10/05/22 Page: 9 of 13 PAGEID #: 393




       “In the case of Defendant St. Helena, AtriCure additionally paid St. Helena cash

remuneration in return for hosting surgical teams to perform. . . . procedures onsite.” Id. ¶ 5.

“AtriCure paid St. Helena Hospital to hold these events in 2013. Id. ¶102.

       Thus, far from being merely innocent bystanders, as set forth supra and in Relator’s

Memorandum of Law in Opposition to Defendant AtriCure’s Motion to Dismiss Relator’s Fourth

Amended Complaint, filed contemporaneously herewith and incorporated by reference as if set

forth in its entirety herein, Defendant Adventist and one of the hospitals it operates, Defendant

St. Helena, are each alleged both to be well aware of this scheme, and to have been knowing

participants who received kickbacks and other inducements from Defendant AtriCure. Thus,

Relator has adequately alleged a conspiracy among all three Defendants.

               E. The Complaint Sufficiently Pleads that Defendants’ Kickback Scheme
                  Resulted in the Submission of False Claims to State Medicaid Programs

       The Court should likewise reject AtriCure’s suggestion that, even if Relator’s main

allegations are upheld, state-and-analogous law counts should be dismissed.

       First, AtriCure suggests that Relator has failed to allege that “any conduct whatsoever in

the relevant jurisdiction” occurred, AtriCure Mem. at 35 (emphasis in original), but that is simply

false. In fact, while Relator might not have identified specific examples, by name, from each

jurisdiction, Relator has alleged a nationwide scheme with nationwide conduct: “From at least

2011 to the present (the “Relevant Period”), AtriCure, with the knowledge, involvement and

participation of St. Helena and Adventist, engaged in a nationwide, interconnected and ongoing

kickback scheme to cause false claims for payment to be submitted to and paid for by federal,

state, city and county government healthcare programs.” Compl. ¶ 3 (emphasis supplied).

Likewise, the Complaint goes on to allege that Defendants “implemented a comprehensive,

nationwide and interconnected scheme to pay various forms of remuneration to hospital


                                                 9
  Case: 1:22-cv-00284-MRB Doc #: 99 Filed: 10/05/22 Page: 10 of 13 PAGEID #: 394




systems like Centura Health and Defendant Adventist Health and the hospitals within those

systems, to promote and perform certain procedures using AtriCure products.” Compl. ¶ 146

(emphasis supplied). ). As the Sixth Circuit has affirmed, “[i]f a relator alleges a widespread

fraud, then ‘a single adequately pled claim of this nature would allow relators to satisfy Rule

9(b)'s pleading requirement and proceed to discovery on the entire scheme.’” United States ex

rel. USN4U, LLC v. Wolf Creek Fed. Servs., 34 F.4th 507, 514 (6th Cir. May 16, 2022).

       Further, the Complaint provides examples for inducements paid in many of the Plaintiff

States: “During the Relevant Period, AtriCure entered into arrangements with numerous

surgeons nationwide pursuant to which those surgeons were given cash and/or free products and

services by AtriCure,” Compl. ¶ 92, and goes on to list specific inducement amounts given to

doctors in California, Colorado, Florida, Idaho, Indiana, Missouri, New York, North Carolina,

Tennessee, Utah, Washington, and Wisconsin, making dismissal additionally inappropriate as to

those exemplar states. Id. ¶94.

       Relator notes that the Texas Medicaid Fraud Prevention Act (“TMFPA”) sets out several

unlawful acts that each proscribe specific conduct generally involving the Medicaid program.

See Tex. Hum. Res. Code §§36.002(1)-(13). A majority of the TMFPA’s specified unlawful acts

do not require the presentment of a “false claim” to incur liability. Tex. Hum. Res. Code

§§36.002(1)-(5), (9)-(13). Defendants’ suggestion that Relator must plead the presentment or

submission of a “false claim” to incur liability is contrary to the plain language of the TMFPA.

(ECF No. 91-1 at 7-16; ECF No. 92-1 at 12-16, 19-20). While Defendants summarily conclude

that the state statutes are “equivalents” of the FCA (ECF No. 91-1 at 35; ECF No. 92-1 at 1),

none undertakes any analysis of the TMFPA. Not one of the cases relied upon by Defendant

AtriCure in referencing the state statutes address the TMFPA. ECF No. 91-1 at 35-36.



                                                10
  Case: 1:22-cv-00284-MRB Doc #: 99 Filed: 10/05/22 Page: 11 of 13 PAGEID #: 395




Defendants St. Helena and Adventist do not cite to a single case in support of their claim that a

state statute is merely a “federal counterpart” to the FCA also requiring “proof of a false claim,”

a requirement that does not apply to the TMFPA. ECF No. 92-1 at 19-20. The cause of action

asserted under the TMFPA in this case must be analyzed “according to [the TMFPA’s] plain and

ordinary language,” especially where that language differs from the FCA. In re Xerox, 555

S.W.3d 518, 535 (Tex. 2018).

       III.    CONCLUSION

       Relator has adequately stated a claim against Defendant AtriCure and its co-defendants.

Relator has alleged detailed examples both of kickbacks and other inducements provided and

received members of Defendants’ conspiracy, and of claims caused to submitted, including the

“who, what, where, and when” of each. Further, Relator has adequately alleged that the offering

of these inducements was done with the requisite scienter, and as part of a nationwide scheme,

such that all three Defendants conspired together to violate the FCA and AKS, and the False

Claims Acts of the Plaintiff States and analogous governments are likewise implicated.

       For the foregoing reasons, the Hospital Defendants’ motions should be denied in their

entireties. In the alternative, Relator should be granted leave to amend a Fifth Amended

Complaint, including to allege any additional facts recited herein, as none of Relator’s prior

complaints have yet been tested by a motion to dismiss.


 Dated: October 5, 2022




                                                11
Case: 1:22-cv-00284-MRB Doc #: 99 Filed: 10/05/22 Page: 12 of 13 PAGEID #: 396




                                   Respectfully submitted,

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                                     12
  Case: 1:22-cv-00284-MRB Doc #: 99 Filed: 10/05/22 Page: 13 of 13 PAGEID #: 397




                                 CERTIFICATE OF SERVICE

       I certify that on October 5, 2022, the foregoing was filed electronically via the Court’s

authorized electronic filing system. Notice of this filing will be sent to all parties by operation of

the Court’s electronic filing system.



                                                              /s/ Kelly Mulloy Myers




                                                 13
